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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.10/03)
                          6/03) Judgment in a Civil Case



                                          United States District Court
                                                 Southern District of Georgia
                  JAMES DOUGLAS WILKINSON,

                             Plaintiff,
                                                                                   JUDGMENT IN A CIVIL CASE


                                            V.                                   CASE NUMBER:        CV 319-045

                  ANDREW M. SAUL, Commissioner of
                  Social Security,

                            Defendant.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                     IT IS ORDERED AND ADJUDGED
                     that, in accordance with the Court's Order of June 30, 2020, the Report and Recommendation of the

                     Magistrate Judge is ADOPTED as the opinion of the Court, and the Commissioner's final decision

                     is AFFIRMED. Judgment is entered in favor of ANDREW M. SAUL, Commissioner of Social

                     Security, and this civil action stands CLOSED.




            06/30/2020                                                         John E. Triplett, Acting Clerk
           Date                                                                Clerk



                                                                               (By) Deputy Clerk
GAS Rev 10/1/03
